            Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 1 of 16



                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  LOURDES BURGOS on behalf of herself and
  all others similarly situated,
                                                       Civil Action No.
                             Plaintiff,

            v.
                                                       CLASS ACTION COMPLAINT
                                                       AND DEMAND FOR JURY
  THE PENNSYLVANIA STATE
                                                       TRIAL
  UNIVERSITY,

                              Defendant.


       Plaintiff Lourdes Burgos (“Plaintiff”) brings this action on behalf of herself and all others

similarly situated against Defendant The Pennsylvania State University (“Penn State” or

“Defendant”). Plaintiff makes the following allegations pursuant to the investigation of her

counsel and based upon information and belief, except as to the allegations specifically

pertaining to herself, which are based on personal knowledge.

         NATURE OF THE ACTION AND FACTS COMMON TO ALL CLAIMS

       1.        This is a class action lawsuit on behalf of all people who paid tuition and fees for

the Spring 2020 academic semester at Penn State, and who, because of Defendant’s response to

the Novel Coronavirus Disease 2019 (“COVID-19”) pandemic, lost the benefit of the education

for which they paid, and/or the services or which their fees were paid, without having their

tuition and fees refunded to them.

       2.        Penn State is one of the country’s largest public universities, with an enrollment

of over 98,000 students. The university offers 160 degree options for undergraduate students as

well as more than 190 graduate programs. Penn State also operates an online program called

Penn State World Campus (“World Campus”) which offers more than 150 online undergraduate
            Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 2 of 16



and graduate degree programs. Over 14,000 students are currently enrolled in Penn State’s

World Campus.

       3.       On March 11, 2020, Penn State, through a news release, announced that because

of the global COVID-19 pandemic, all in-person classes would be suspended through April 3,

2020. The announcement informed students that beginning March 16, 2020, classes would

instead be held remotely through online formats.

       4.       On March 18, 2020, Penn State announced that the “remote-delivery period” for

all classes would continue through at least the end of the Spring Semester 2020. All on-campus

student sponsored events and activities were also cancelled.

       5.       Penn State has not held any in-person classes since March 6, 2020. Classes that

have continued have only been offered in an online format, with no in-person instruction.

       6.       As a result of the closure of Defendant’s facilities, Defendant has not delivered

the educational services, facilities, access and/or opportunities that Ms. Burgos and the putative

class contracted and paid for. The online learning options being offered to Penn State students

are subpar in practically every aspect, from the lack of facilities, materials, and access to faculty.

Students have been deprived of the opportunity for collaborative learning and in-person

dialogue, feedback, and critique. The remote learning options are in no way the equivalent of the

in-person education that Plaintiff and the putative class members contracted and paid for.

       7.       Plaintiff and the putative class are therefore entitled to a refund of tuition and fees

for in-person educational services, facilities, access and/or opportunities that Defendant has not

provided. Even if Defendant claims it did not have a choice in cancelling in-person classes, it

nevertheless has improperly retained funds for services it is not providing.

       8.       Through this lawsuit Plaintiff seeks, for herself and Class members, Defendant’s




                                                   2
              Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 3 of 16



disgorgement of the pro-rated portion of tuition and fees, proportionate to the amount of time

that remained in the Spring Semester 2020 when classes moved online and campus services

ceased being provided. Plaintiff seeks a return of these amounts on behalf of herself and the

Class as defined below.

                                              PARTIES

         9.       Plaintiff Lourdes Burgos is a citizen of New York who resides in Bronx County,

New York. Ms. Burgos is the parent of Penn State undergraduate student Jeffrey Binet, and paid

her son’s tuition for the Spring 2020 semester. Ms. Burgos paid approximately $17,608 in

tuition and fees to Defendant for Spring Semester 2020. Ms. Burgos has not been provided a

refund of any tuition monies paid, despite the fact that in-person classes have not been held since

March 6, 2020.

         10.      Defendant The Pennsylvania State University is a state-related institution of

higher education with its principal place of business at 201 Old Main, University Park, PA

16802.

                                   JURISDICTION AND VENUE

         11.      The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)(A),

as modified by the Class Action Fairness Act of 2005, because at least one member of the Class,

as defined below, is a citizen of a different state than Defendant, there are more than 100

members of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive of

interest and costs.

         12.      This Court has personal jurisdiction over Defendant because many of the acts and

transactions giving rise to this action occurred in this District, and because Defendant conducts

substantial business in this District and has sufficient minimum contacts with New York.




                                                   3
           Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 4 of 16



Defendant has solicited students residing in New York to attend it’s institution; has accepted

money, including application fees, tuition, and other fees from students residing in New York,

has websites accessible to students in New York, has entered into contracts with New York

residents, and generally has minimum contacts in New York sufficient to satisfy the Due Process

Clauses of the New York and United States Constitutions.

        13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because many of the

acts and transactions giving rise to this action occurred in this District, and because Plaintiff is a

resident of the state in which the District is located. Specifically, the contract that is the subject

of this action was formed in this District.

                                   FACTUAL ALLEGATIONS

Plaintiff And Class Members Paid Tuition And Fees For Spring Semester 2020

        14.     Plaintiff and Class members are individuals who paid the cost of tuition and other

mandatory fees for the Spring 2020 Semester at Penn State.

        15.     Spring Semester 2020 classes at Penn State began on or about January 13, 2020.

Final exams for the semester are scheduled for end on or around May 8, 2020.

        16.     Plaintiff and Class members paid the cost of tuition for the Spring Semester 2020.

They also paid other mandatory fees associated with the Spring Semester 2020, including a $265

per semester student fee.

        17.     Approximate tuition costs at Penn State for the Spring Semester 2020 are as

follows:

                    •   Pennsylvania Resident Lower Division Undergraduate (freshman or
                        sophomore): $8,960
                    •   Non-Pennsylvania Resident Lower Division Undergraduate (freshman or
                        sophomore): $17,492
                    •   Pennsylvania Resident Upper Division Undergraduate (junior or senior):



                                                   4
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 5 of 16



                         $9,666 - $11,494 (depending on course of study)
                     •   Non-Pennsylvania Resident Upper Division Undergraduate (junior or
                         senior): $18,370-20,663 (depending on course of study)
                     •   Pennsylvania Resident MBA Program: $13,721
                     •   Non-Pennsylvania Resident MBA Program: $21,900
                     •   Pennsylvania Resident – Other Graduate Programs: $11,232-$11,964
                         (depending on program)
                     •   Non-Pennsylvania Resident – Other Graduate Programs: $19,099-$19,860
                         (depending on program)
                     •   Law School: $25,946
       18.     Fees paid by or on behalf of Penn State students vary based on program of study.

By way of example, undergraduate students for the 2019-2020 academic year paid a Student Fee

of $265 per semester. Some Class members also purchased parking on their respective

campuses, which also has not been refunded even though the parking services are no longer

available to them.

       19.     The tuition and fees described in the paragraphs above are provided by way of

example; total damage amounts – which may include other fees that are not listed herein but that

were not refunded – will be proven at trial.

In Response To COVID-19, Penn State Closed Campuses And Cancelled All In-Person
Classes

       20.     On March 11, 2020, Penn State, through a news release, announced that because

of the global COVID-19 pandemic, all in-person classes would be suspended effective March 16,

2020. The announcement informed students that all classes would instead be held remotely

through online formats.

       21.     On March 18, 2020, Penn State announced that the “remote-delivery period” for

all classes would continue through at least the end of the Spring Semester 2020. All on-campus

student sponsored events and activities were also cancelled.



                                                 5
           Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 6 of 16



         22.   Since March 6, 2020, Penn State has not held any in-person classes. The closure

of Penn State’s campuses has been extended through the end of Spring Semester 2020. Classes

that have continued have only been offered in an online format, with no in-person instruction.

Even classes for students with concentrations in areas where in-person instruction is especially

crucial (such as music, theatre, and the sciences) have only had access to minimum online

education options.

         23.   As a result of the closure of Defendant’s facilities, Defendant has not delivered

the educational services, facilities, access and/or opportunities that Plaintiff and the putative class

contracted and paid for. Plaintiff and the putative class are therefore entitled to a refund of all

tuition and fees for services, facilities, access and/or opportunities that Defendant has not

provided. Even if Defendant claims it did not have a choice in cancelling in-person classes, it

nevertheless has improperly retained funds for services it is not providing.

         24.   Plaintiff and members of the Class did not choose to attend an online institution of

higher learning, but instead chose to attend Defendant’s institution and enroll on an in-person

basis.

         25.   Defendant markets the Penn State on-campus experience as a benefit of

enrollment on Penn State’s website:




                                                  6
          Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 7 of 16



       26.     The online learning options being offered to Penn State students are subpar in

practically every aspect, from the lack of facilities, materials, and access to faculty. Students

have been deprived of the opportunity for collaborative learning and in-person dialogue,

feedback, and critique.

       27.     The remote learning options are in no way the equivalent of the in-person

education putative class members contracted and paid for. The remote education being provided

is not even remotely worth the amount charged class members for Spring Semester 2020 tuition.

The tuition and fees for in-person instruction at Penn State are higher than tuition and fees for

other online institutions because such costs cover not just the academic instruction, but

encompass an entirely different experience which includes but is not limited to:

                    •     Face to face interaction with professors, mentors, and peers;

                    •     Access to facilities such as libraries, laboratories, computer labs, and
                          study room;

                    •     Student governance and student unions;

                    •     Extra-curricular activities, groups, intramural sports, etc.;

                    •     Student art, cultures, and other activities;

                    •     Social development and independence;

                    •     Hands on learning and experimentation;

                    •     Networking and mentorship opportunities.

       28.     The fact that Penn State students paid a higher price for an in-person education

than they would have paid for an online education is illustrated clearly by the vast price

difference in Penn State’s in-person, on-campus programs versus Penn State’s own online

learning program. Undergraduate tuition for Spring Semester 2020 at Penn State’s main campus

in University Park, PA costs $17,492 for non-resident freshman and sophomores, and ranges


                                                    7
           Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 8 of 16



from $18,370-$20,663 for non-resident juniors and seniors depending on the program of study.

For Pennsylvania residents, Spring Semester 2020 tuition at Penn State’s main campus is $8,960

for freshman and sophomores, and ranges from $9,666-$11,494 for juniors and seniors

depending on the program of study. Penn State’s own online education program, Penn State

World Campus, costs just $6,994 for freshman and sophomores, and $7,549 for juniors and

seniors.

       29.     For non-residents of Pennsylvania, the cost of one semester of an in-person

education at Penn State is more than double the cost of a semester of online education at the

same university. For residents of Pennsylvania, the cost of one semester of in-person education

at Penn State is nearly 1.5 times the cost of a semester of online education at the same

university, as shown in the chart below:


                      Spring Semester 2020 Tuition – Full Time Undergraduate


                                Penn State World       In Person Education      In Person Education
                                 Campus Online         at Penn State’s Main     at Penn State’s Main
                                                          Campus (Non-              Campus (PA
                                                            Residents)               Residents)

 Lower Division                      $6,994                  $17,492                   $8,960
 (Freshman & Sophomore)
 Upper Division (Junior &            $7,549             $18,370 - $20,663         $9,666-$11,494
 Senior)                                                  (depending on            (depending on
                                                            program)                 program)


       30.     Through this lawsuit Plaintiff seeks, for herself and Class members, Defendant’s

disgorgement of the pro-rated portion of tuition and fees, proportionate to the amount of time

that remained in the Spring Semester 2020 when classes moved online and campus services

ceased being provided. Plaintiff seeks return of these amounts on behalf of herself and the Class




                                                8
          Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 9 of 16



as defined below.

                                        CLASS ALLEGATIONS

       31.     Plaintiff seeks to represent a class defined as all people who paid Penn State

Spring Semester 2020 tuition and/or fees for in-person educational services that Penn State failed

to provide, and whose tuition and fees have not been refunded (the “Class”). Specifically

excluded from the Class are Defendant, Defendant’s officers, directors, agents, trustees, parents,

children, corporations, trusts, representatives, employees, principals, servants, partners, joint

ventures, or entities controlled by Defendant, and their heirs, successors, assigns, or other

persons or entities related to or affiliated with Defendant and/or Defendant’s officers and/or

directors, the judge assigned to this action, and any member of the judge’s immediate family.

       32.     Plaintiff also seeks to represent a subclass consisting of Class members who

reside in New York (the “Subclass”).

       33.     Subject to additional information obtained through further investigation and

discovery, the foregoing definition of the Class and Subclass may be expanded or narrowed by

amendment or amended complaint.

       34.     Numerosity. The members of the Class and Subclass are geographically

dispersed throughout the United States and are so numerous that individual joinder is

impracticable. Upon information and belief, Plaintiff reasonably estimates that there are tens of

thousands of members in the Class and Subclass. Although the precise number of Class

members is unknown to Plaintiff, the true number of Class members is known by Defendant and

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the distribution records of Defendant and third-party

retailers and vendors.




                                                  9
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 10 of 16



       35.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Class and Subclass and predominate over

any questions affecting only individual Class members. These common legal and factual

questions include, but are not limited to, the following:

       (a)     whether Defendant accepted money from Class and Subclass members in

               exchange for the promise to provide services;

       (b)     whether Defendant has provided the services for which Class and Subclass

               members contracted; and

       (c)     whether Class and Subclass members are entitled to a refund for that portion of

               the tuition and fees that was contracted for services that Defendant did not

               provide.

       (d)     whether Defendant has unlawfully converted money from Plaintiff, the Class and

               Subclass; and

       (d)     whether Defendant is liable to Plaintiff, the Class, and Subclass for unjust

enrichment.

       36.     Typicality. Plaintiff’s claims are typical of the claims of the other members of

the Class in that, among other things, all Class and Subclass members were similarly situated and

were comparably injured through Defendant’s wrongful conduct as set forth herein. Further,

there are no defenses available to Defendants that are unique to Plaintiff.

       37.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Class and Subclass. Plaintiff has retained counsel that is highly experienced in

complex consumer class action litigation, and Plaintiff intends to vigorously prosecute this action

on behalf of the Class and Subclass. Furthermore, Plaintiff has no interests that are antagonistic




                                                 10
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 11 of 16



to those of the Class or Subclass.

       38.     Superiority. A class action is superior to all other available means for the fair

and efficient adjudication of this controversy. The damages or other financial detriment suffered

by individual Class and Subclass members are relatively small compared to the burden and

expense of individual litigation of their claims against Defendant. It would, thus, be virtually

impossible for the Class or Subclass on an individual basis, to obtain effective redress for the

wrongs committed against them. Furthermore, even if Class or Subclass members could afford

such individualized litigation, the court system could not. Individualized litigation would create

the danger of inconsistent or contradictory judgments arising from the same set of facts.

Individualized litigation would also increase the delay and expense to all parties and the court

system from the issues raised by this action. By contrast, the class action device provides the

benefits of adjudication of these issues in a single proceeding, economies of scale, and

comprehensive supervision by a single court, and presents no unusual management difficulties

under the circumstances.

       39.     In the alternative, the Class and Subclass may also be certified because:

       (a)     the prosecution of separate actions by individual Class and Subclass members

would create a risk of inconsistent or varying adjudications with respect to individual Class

members that would establish incompatible standards of conduct for the Defendant;

       (b)     the prosecution of separate actions by individual Class and Subclass members

would create a risk of adjudications with respect to them that would, as a practical matter, be

dispositive of the interests of other Class members not parties to the adjudications, or

substantially impair or impede their ability to protect their interests; and/or

       (c)     Defendant has acted or refused to act on grounds generally applicable to the Class




                                                  11
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 12 of 16



as a whole, thereby making appropriate final declaratory and/or injunctive relief with respect to

the members of the Class as a whole.

                                          COUNT I
                                    Breach Of Contract
                            (On Behalf Of The Class And Subclass)

       40.     Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       41.     Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendants.

       42.     Through the admission agreement and payment of tuition and fees, Plaintiff and

each member of the Class and Subclass entered into a binding contract with Defendant.

       43.     As part of the contract, and in exchange for the aforementioned consideration,

Defendant promised to provide certain services, all as set forth above. Plaintiff, Class, and

Subclass members fulfilled their end of the bargain when they paid monies due for Spring

Semester 2020 tuition. Tuition for Spring Semester 2020 was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

and Subclass members were entitled to in-person educational services through the end of the

Spring Semester.

       44.     Defendant has failed to provide the contracted for services and has otherwise not

performed under the contract as set forth above. Defendant has retained monies paid by Plaintiff

and the Class for their Spring Semester 2020 tuition and fees, without providing them the benefit

of their bargain.

       45.     Plaintiff and members of the Class and Subclass have suffered damage as a direct

and proximate result of Defendant’s breach, including but not limited to being deprived of the




                                                12
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 13 of 16



education, experience, and services to which they were promised and for which they have

already paid.

       46.      As a direct and proximate result of Defendant’s breach, Plaintiff, the Class, and

Subclass are entitled to damages, to be decided by the trier of fact in this action, to include but no

be limited to reimbursement of certain tuition, fees, and other expenses that were collected by

Defendant for services that Defendant has failed to deliver. Defendant should return the pro-

rated portion of any Spring Semester 2020 tuition and fees for education services not provided

since Penn State shut down on March 16, 2020.

       47.      Defendant’s performance under the contract is not excused due to COVID-19.

Indeed, Defendant should have refunded the pro-rated portion of any education services not

provided. Even if performance was excused or impossible, Defendant would nevertheless be

required to return the funds received for services it will not provide.

                                          COUNT II
                                      Unjust Enrichment
                             (On Behalf Of The Class And Subclass)

       48.      Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       49.      Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

       50.      Plaintiff and members of the Class and Subclass conferred a benefit on Defendant

in the form of monies paid for Spring Semester 2020 tuition and other fees in exchange for

certain service and promises. Tuition for Spring Semester 2020 was intended to cover in-person

educational services from January through May 2020. In exchange for tuition monies paid, Class

members were entitled to in-person educational services through the end of the Spring Semester.




                                                 13
        Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 14 of 16



       51.     Defendant voluntarily accepted and retained this benefit by accepting payment.

       52.     Defendant has retained this benefit, even though Defendant has failed to provide

the education, experience, and services for which the tuition and fees were collected, making

Defendant’s retention unjust under the circumstances. Accordingly, Defendant should return the

pro-rated portion of any Spring Semester 2020 tuition and fees for education services not

provided since Penn State shut down on March 16, 2020.

       53.     It would be unjust and inequitable for Defendant to retain the benefit, and

Defendant should be required to disgorge this unjust enrichment.

                                         COUNT III
                                         Conversion
                            (On Behalf Of The Class And Subclass)

       54.     Plaintiff hereby incorporates by reference the allegations contained in all

preceding paragraphs of this complaint.

       55.     Plaintiff brings this claim individually and on behalf of the members of the Class

and Subclass against Defendant.

       56.     Plaintiff and members of the Class and Subclass have an ownership right to the

in-person educational services they were supposed to be provided in exchange for their Spring

Semester 2020 tuition and fee payments to Defendant.

       57.     Defendant intentionally interfered with the rights of Plaintiff, the Class, and

Subclass when it moved all classes to an online format and discontinued in-person educational

services for which tuition and fees were intended to pay.

       58.     Plaintiff and members of the Class and Subclass demand the return of the pro-

rated portion of any Spring Semester 2020 tuition and fees for education services not provided

since Penn State shut down on March 16, 2020.




                                                14
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 15 of 16



       59.     Defendant’s retention of the fees paid by Plaintiff and members of the Class and

Subclass without providing the educational services for which they paid, deprived Plaintiff, Class

and Subclass members of the benefits for which the tuition and fees paid.

       60.     This interference with the services for which Plaintiff and members of the Class

and Subclass paid damaged Plaintiff and Class members in that they paid tuition and fees for

services that will not be provided.

       61.     Plaintiff, Class and Subclass members are entitled to the return of pro-rated

portion of any Spring Semester 2020 tuition and fees for education services not provided since

Penn State shut down on March 16, 2020.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

               (a)     For an order certifying the Class and Subclass under Rule 23 of the
                       Federal Rules of Civil Procedure and naming Plaintiff as representative of
                       the Class and Plaintiff’s attorneys as Class Counsel to represent the Class
                       and Subclass;

               (b)     For an order finding in favor of Plaintiff and the Class and Subclass on all
                       counts asserted herein;

               (c)     For compensatory and punitive damages in amounts to be determined by
                       the Court and/or jury;

               (d)     For prejudgment interest on all amounts awarded;

               (e)     For an order of restitution and all other forms of equitable monetary relief;

               (f)     For injunctive relief as pleaded or as the Court may deem proper; and

               (g)     For an order awarding Plaintiff and the Class and Subclass her reasonable
                       attorneys’ fees and expenses and costs of suit.




                                                15
         Case 1:20-cv-03143-NRB Document 1 Filed 04/20/20 Page 16 of 16



                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable of right.



Dated: April 20, 2020                            Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:      /s/ Joseph I. Marchese
                                                             Joseph I. Marchese

                                                 Joseph I. Marchese
                                                 888 Seventh Avenue
                                                 New York, NY 10019
                                                 Telephone: (646) 837-7150
                                                 Facsimile: (212) 989-9163
                                                 Email: jmarchese@bursor.com

                                                 BURSOR & FISHER, P.A.
                                                 Sarah N. Westcot (pro hac vice app. forthcoming)
                                                 2665 S. Bayshore Drive, Suite 220
                                                 Miami, FL 33133
                                                 Telephone: (305) 330-5512
                                                 Facsimile: (305) 676-9006
                                                 Email: swestcot@bursor.com

                                                 Attorneys for Plaintiff




                                                     16
